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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
TIMOTHY KING, et al.,
Plaintiffs,
V.
GRETCHEN WHITMER, et al., Civil Case No. 20-13134
Defendants. Honorable Linda V. Parker
and

CITY OF DETROIT, DEMOCRATIC
NATIONAL COMMITTEE and
MICHIGAN DEMOCRATIC PARTY,
and ROBERT DAVIS,

Intervenor-Defendants.

 

AFFIDAVIT OF EMILY P. NEWMAN

The assertions contained in this affidavit are based on my personal
knowledge and to which I could testify if called to do so.

1. To satisfy the requirement of this Court's August 25, 2021 Opinion
regarding continuing legal education, I attended the following classes in their

entirety for the hours noted:
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Pleading Standards:
Date Class Title Provider Hours
02/19/22 | Front Loading the Litigation: The National Academy of | 1.5
Keys to Pretrial Advocacy Continuing Legal
Education
02/20/22 | The Fundamentals of Pleading National Academy of | 1
Practice in State and Federal Court Continuing Legal
Education
02/23/22 | Affirmative Defenses Under Strafford 125
Twombly and Iqbal: Complying With
Higher Pleading Standards in Recent
Cases
02/24/22 | Pleading Standards, Affirmative Strafford 1.5
Defenses and Motions to Dismiss in
Federal Court
02/24/22 | An Introduction to Section 1983 Civil | Lawline 1
Rights Pleading Practice
Election Law:
Date Class Title Provider Hours
02/18/22 | Voting Rights In The United States National Academy of | 1.5
From Inception To The Present Continuing Legal
Education
02/20/22 | The Voting Rights Act of 1965: A National Academy of | 1.25
Cornerstone of Equal Rights for All Continuing Legal
Americans Education
02/20/22 | Political Law Updates During the Lawline l
COVID Crisis
02/20/22 | Voting Rights Litigation Today: Lawline 1
Strategies for Moving from Voter
Suppression to Election Protection
02/20/22 | Election Protection for Attorneys: Lawline 1.25
How to Help Voters in 2020

 

 

 

 

 

 

 
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Zt My attendance was via on-demand videos (online and downloaded).
A description of the content of each class is found in Exhibit 1. Each class was

paid for at my expense, and each provider is non-partisan.

I make this affidavit under penalty of perjury. fa oa

Emily P. Newman

STATEOF S2ORi CT +)
COUNTY OF 347<9S 0721)

The foregoing instrument was acknowledged before me this RF day of February,
2022 by Emily P. Newman.

Subscribed and sworn to beforemeon —@4&

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SILO Notary Public fo G% None aes State of Flonda
County of S4x@4somState of _ Fro) It ANP ce comemeene

 

 

My Commission expires /0/0¢/2f2.
